                 Case 4:23-cv-00208-AW-MAF Document 17-1 Filed 06/05/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                        NorthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                           Florida


  Yifan Shen, Zhiming Xu, Xinxi Wang, Yongxin Liu,                      )
           and Multi-Choice Realty, LLC,                                )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 4:23-cv-208-AW-MAF
                                                                        )
   Wilton Simpson, in his official capacity as Florida                  )
          Commissioner of Agriculture, et al.,                          )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) R.J. Larizza
                                           Office of the State Attorney, 7th Judicial Circuit
                                           101 North Alabama Avenue
                                           Deland, FL 32724




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Nicholas L.V. Warren
                                           ACLU Foundation of Florida
                                           336 East College Avenue, Suite 203
                                           Tallahassee, FL 32301


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                                Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:23-cv-208-AW-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
